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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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     In Re:                                                     Chapter 11

     LTL MANAGEMENT, LLC,1                                      Case No.: 23-12825 (MBK)

                                 Debtor.                        Honorable Michael B. Kaplan



  NOTICE OF MOTION TO SEAL THE REDACTED PORTIONS AND EXHIBITS OF
 THE REPLY IN SUPPORT OF MOTION OF THE OFFICIAL COMMITTEE OF TALC
      CLAIMANTS TO DISMISS SECOND BANKRUPTCY PETITION OF LTL
                         MANAGEMENT, LLC


              PLEASE TAKE NOTICE that the Official Committee of Talc Claimants (the “TCC” or

 the “Committee”) in the above-captioned case of LTL Management, LLC (the “Debtor” or

 “LTL”), by and through its counsel, will move on, on an expedited basis, before the Honorable

 Michael B. Kaplan, Chief United States Bankruptcy Judge for the United States Bankruptcy Court

 for the District of New Jersey, Trenton Vicinage, at the Clarkson S. Fisher U.S. Courthouse,

 located at 402 East State Street, Trenton, New Jersey 08608, in Courtroom No. 8, pursuant to 11

 U.S.C. § 107(b), Fed. R. Bankr. P. 9018 and D.N.J. LBR 9018-1 (the “Motion to Seal”) for entry

 of an order, substantially in the form submitted herewith, (A) for authority to file under seal the

 redacted portions of the Reply in Support of Motion of the Official Committee of Talc Claimants

 to Dismiss Second Bankruptcy Petition of LTL Management, LLC (the “TCC Reply”), filed

 substantially contemporaneously herewith,2 and (B) granting the Committee such other and further




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501
              George Street, New Brunswick, New Jersey 08933.
 2
              A redacted version of the TCC Reply has been filed immediately prior to the filing of this Motion to Seal.
              An unredacted version of the TCC Reply is being filed immediately after the filing of this Motion to Seal in
              accordance with this Court’s procedures for electronically requesting that a document be sealed (see Process
              to Electronically Request that a Document be Sealed | United States Bankruptcy Court - District of New
              Jersey (uscourts.gov).



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 relief as the Court deems necessary, appropriate and consistent with the goals of the Motion to

 Seal.

         PLEASE TAKE FURTHER NOTICE that, substantially contemporaneously with the

 filing of this Motion to Seal, the TCC has filed an Application for Order Shortening Time and

 Certain Other Relief (the “Scheduling Application”) requesting that the hearing on the Motion be

 scheduled for June 27, 2023. TAKE NOTE that the order entered with respect to the

 Scheduling Application will, among other things, specify the date and time of the hearing on

 the Motion to Seal.

         PLEASE TAKE FURTHER NOTICE that, the TCC shall rely upon the application filed

 herewith in support of the relief sought by this Motion to Seal, and that no brief is being filed

 herewith since the legal basis upon which relief should be granted is set forth in the supporting

 application filed with the Motion to Seal.

         PLEASE TAKE FURTHER NOTICE that, oral argument is requested, unless the Court

 directs that no oral argument would be necessary.

         PLEASE TAKE FURTHER NOTICE, that all objections, if any, must be made

 accordance with the Court’s order entered with respect to the Scheduling Application. If the order

 entered with respect to the Scheduling Application directs that written objections be filed, then in

 accordance with D.N.J. LBR 9013-2(a)(2), written objections shall be filed with the Clerk of the

 United States Bankruptcy Court, for the District of New Jersey, Courthouse, 402 East State Street,

 Trenton, New Jersey 08608, and a copy thereof must simultaneously be served upon GENOVA

 BURNS, LLC., Attn: Daniel M. Stolz, Esq., 110 Allen Road, Suite 304, Basking Ridge, New

 Jersey 07920, so they are received by the deadline set forth in the Court’s order entered with respect

 to the Scheduling Application.




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        PLEASE TAKE FURTHER NOTICE that in the absence of any objections, the relief

 requested hereunder may be granted without further notice.


 Dated: June 22, 2023

                                                   GENOVA BURNS LLC

                                                   By: /s/ Daniel M. Stolz
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                                                   Local Counsel for the Official
                                                   Committee of Talc Claimants




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